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IN THE UNITED STATES DISTRICT COURT GK\
FOR THE WESTERN DISTRICT OF TENNESSEE 05,/0£ `\\QC
EASTERN DIVISIoN ~?/ 43 '
8:
TABITHA N. WEBB, ) ;;,;/{j
) /
Petitioner, )
)
vs. ) No. 05-1186 T/An
)
DAVID L. WOOLFORK, )
)
Respondent. )
ORDER SETTING I-IEARING

 

Before the Court is Petitioner’s Motion for Change of Venue filed on July 5, 2005.
Within the Motion to Change Venue is a Motion for the Undersigned to recuse himself from this
matter. After due consideration, it is ORDERED that a hearing on the Motion to Reeuse Shall
be held before United States Magistrate Juclge S, Thomas Anderson on TUESDAY, AUGUST 2,
2005 at 2:00 P.M. in the Magistrate Judge Courtroom, 4th Floor, United States Courthouse, lll

S. Highland Avenue, Jackson, Tennessee.

IT IS SO ORDERED. rid-pr

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

This document entered on the docket sheet in com liance

with Rule 58 and,'or_?Q (a) FF-'lCP on _C_L¢L__ /:\

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01186 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

Tabitha N. Webb
PO Box 1451
Jacl<son7 TN 38302

Honorable .l ames Todd
US DISTRICT COURT

